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                        UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF WISCONSIN

 PARAGON COMPONENT SYSTEMS, LLC

                               Plaintiff,


 v.                                                 Case No.: 3:25-cv-00170-wmc

 QUALTIM INC., CENTER FOR
 BUILDING INNOVATION LLC
 DRJ ENGINEERING LLC, INSPIRED
 PURSUITS LLC, KIRK GRUNDAHL,
 AND SUZANNE GRUNDAHL

                               Defendants.




      DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION TO DETERMINE
           WHETHER TO SEAL EXHIBITS TO INITIAL COMPLAINT
        Defendants file this Response to Plaintiffs’ Motion to Determine Whether to Seal Exhibits

to the Initial Complaint.

        PROCEDURAL POSTURE CHANGES SINCE PLAINTIFF’S MOTION

        Plaintiff (“Paragon”) filed a Motion For Determination Whether To Seal Exhibits To Their

Initial Complaint in the Eastern District of Tennessee (“EDTN”), case no. I:24-cv-00246-CEA-

CHS, the case for declaratory judgment. That case was transferred to the Western District of

Wisconsin (“WDWI”) pursuant to a court order entered on March 6, 2025. See Document 73.

        Since the case has been transferred to WDWI, Defendants in this case request that Exhibits

A thru J of the initial Complaint, Documents 1-8 through 1-17 should be sealed based on previous

finding of this court that there is good cause to seal them as alleged trade secrets. See Exhibits to

cases, 25-CV-73 and 25-CV-75.



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            Defendants in this case also request this court to consider their Motion to Seal filed in Dane

County for further support of this motion. See Exhibit A.

      I.       STANDARD OF REVIEW FOR TRADE SECRETS AT THE PLEADING
               STAGE
               Paragon’s motion for the court to determine whether the exhibits should be sealed based

on the existence of a trade secret is an attempt to fast track this case in order to backtrack their

improper public disclosure of documents that were conspicuously marked “Confidential intellectual

property (IP) and trade secrets (TS).” Paragon took the law into their own hands by disregarding the

designations on the documents. See Doc. 68, p. 12. In their motion, Paragon requests the court to

find that Exhibits A through J of the Initial Complaint do not contain trade secrets. See Doc. 68, p.

15.

               Factual disputes over trade secrets should not be resolved at the pleading stage. Brady

Corp. v. Wood, No. 24-CV-265-JPS, 2024 WL 5398591 (E.D. Wis. Dec. 2, 2024). Therefore, despite

the requests of Paragon and their counsel that this court prematurely determine trade secrets at the

pleading stage, this court should seal Exhibits A through J based on the Defendants’ assertion that

they are in fact trade secrets.

      II.      PARAGON AND MILLER MARTIN HAD SUFFICIENT KNOWLEDGE OF
               THE TRADE SECRETS THAT GAVE RISE TO A DUTY OF
               CONFIDENTIALITY

               Paragon and Miller Martin, PLLC argue that there was no notice to recipients as to their

duty of confidentiality. This is resoundingly false, as Paragon and its employees were under a

nondisclosure agreement signed in August 2023 in preparation for the market launch of the Paragon

Truss Software. See Inspired Pursuits, LLC et al v. Paragon et al, Circuit Court for Dane County, WI

Case No. 2025-CV-000036 Exhibits D through L, where key employees of Paragon were in




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attendance at Qualtim’s offices in Madison, Wisconsin, and were required to sign nondisclosure

agreements to ensure protection of intellectual property at issue.

           Paragon lists persons to whom Defendant Suzanne Grundahl sent the March 22, 2024

memorandum, all of whom were under a nondisclosure agreement. Id in comparison to list of

Paragon employees who received March 22, 2024, Doc. 1-8. Therefore, failure of those Paragon

employees to notify Defendants here as to who has access to the salessupport@trusspal.com email

address is a breach of their nondisclosure agreement. See Doc. 68, p. 10.

           As Paragon’s counsel, Miller Martin PLLC was also aware of the trade secrets surrounding

the software. This was the very reason that they filed relief from filing with the Copyright Office. See

Exhibit B, p. 2. Paragon’s counsel accurately stated that the “Paragon Truss Software is not registered

with the Copyright Office because it is a trade-secreted software that is kept confidential.” Id. Aside

from the documents being marked as trade secrets, Paragon and their counsel were aware of the

significance trade secrets play in the software, even if they could not identify these with particularity

during the negotiation. Despite their knowledge of the significant role trade secrets play regarding

the software, they chose to recklessly disregard the documents marked trade secrets and publicly

disclosed the designated documents.

    III.      MILLER MARTIN PLLC AND PARAGON’S COUNSEL ARE
              DEFENDANTS IN A RELATED CASE, THEREFORE SHOULD NOT BE
              ALLOWED TO LITIGATE THE TRADE SECRETS IN THIS COURT
              UNTIL DEFENDANTS’ CASE IS ADJUDICATED IN THE WESTERN
              DISTRICT COURT OF WISCONSIN

              Paragon and Miller Martin PPLC’s motion are filled with inapposite requests. The

substantive suits in Wisconsin are regulating different actions than this Declaratory Judgment lawsuit.

Defendants will not further address Miller Martin’s point of contention regarding their duty to keep

the exhibits confidential because Miller Martin PLLC is a Defendant in another related court

proceeding. See Inspired Pursuits, LLC et al v. Miller Martin et al , 3:25-cv-00073-wmc. Therefore, in

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the interest of keeping the integrity of the judicial system intact, until all pertinent issues are

adjudicated, the Exhibits attached to the Initial Complaint in EDTN, and now also in WDWI, should

be sealed as alleged trade secrets.

    IV.     CONCLUSION

            For the reasons stated above, Exhibits A through J referenced in Paragon’s Initial
    Complaint in the Eastern District of Tennessee (“EDTN”), case no. I:24-cv-00246-CEA-CHS
    should be sealed as alleged trade secrets.



                                                              Respectfully submitted,

                                                              /s/Mayville La Rosa
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